       Case 1:25-cv-11221-WGY            Document 123-6        Filed 05/29/25      Page 1 of 6




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 STATE OF NEW YORK, et al.,

                  Plaintiffs,
 v.

 DONALD J. TRUMP, in his official capacity             Civil Action No. 1:25-cv-11221-WGY
 as President of the United States, et al.,

                  Defendants.



                                    Declaration of Jerome Ford

I, Jerome Ford, declare and state as follows:

1. I am the Assistant Director for the Office of Migratory Bird Management in the U.S. Fish and

      Wildlife Service (“FWS”), an agency of the U.S. Department of the Interior (“Interior”),

      located at 1849 C Street NW, Washington, D.C. In my capacity as Assistant Director, I am

      responsible to the Director of the Fish and Wildlife Service and to the Secretary of the

      Interior for, among other things, the administration of the Bald and Golden Eagle Protection

      Act (“Eagle Act”) (16 U.S.C. §§ 668–668e).

2. I am familiar with President Trump’s Presidential Memorandum, Temporary Withdrawal of

      All Areas on the Outer Continental Shelf from Offshore Wind Leasing and Review of the

      Federal Government’s Leasing and Permitting Practices for Wind Projects (January 20,

      2025) (“Wind Memo”).

3. FWS became aware of the Wind Memo on January 20, 2025 (90 Fed. Reg. 8363; Jan. 29,

      2025).




                                                   1
     Case 1:25-cv-11221-WGY            Document 123-6         Filed 05/29/25       Page 2 of 6




4. I also am aware of the lawsuit and motion for preliminary injunction filed by the State of

   New York and other plaintiffs challenging the alleged implementation of the Wind Memo. I

   understand that the motion asserts that FWS has certain legal duties to act under the Eagle

   Act. I am submitting this declaration in support of the Federal Defendants’ Response to that

   motion.

5. The Eagle Act imposes criminal and civil penalties against “whoever” shall “take, possess,

   sell, purchase, barter, offer to sell, purchase or barter, transport, export or import” bald and

   golden eagles, except as permitted by the Secretary of the Interior. 16 U.S.C. § 668(a)–(b).

   The statute does not mandate that the Secretary issue incidental take permits or impose any

   deadline for issuing permit decisions. Id. § 668a (the Secretary of Interior “may authorize

   the taking of such eagles pursuant to regulations which he is hereby authorized to

   prescribe”).

6. Pursuant to delegated authority on behalf of the Secretary, FWS has promulgated regulations

   governing issuance of permits for incidental take of eagles that “results from, but is not the

   purpose of, an activity.” 50 C.F.R. §§ 22.200(d), 22.210(d). Exempted incidental take must

   be “compatible with the preservation of the bald eagle and the golden eagle” and “necessary

   to protect a legitimate interest in a particular locality,” and “[c]annot practicably be avoided.”

   Id. §§ 22.210(d), 22.210(d).

7. Included in the incidental take regulations are those that specifically pertain to wind energy

   projects. 50 C.F.R. § 22.250. Applicants may apply for general or specific permits,

   according to certain eligibility criteria. Id. There is no time limit for processing permit

   applications, but general permits are issued automatically upon completion of registration,




                                                  2
     Case 1:25-cv-11221-WGY           Document 123-6         Filed 05/29/25       Page 3 of 6




   assuming the applicant certifies they are eligible and willing to carry out all the associated

   conditions.

8. FWS also has promulgated regulations for uniform administration of permits issued under its

   various authorities. 50 C.F.R. § 13.11. Although these regulations state that “[FWS] will

   process all applications as quickly as possible,” they make it clear that “[it] cannot guarantee

   final action within the time limit [applicants] request.” Id. § 13.11(c). Further, “processing

   time may be increased by the procedural requirements of the National Environmental Policy

   Act (NEPA), the requirement to publish a notice in the Federal Register requesting a 30-day

   public comment period when [FWS] receive[s] certain types of permit applications, and/or

   the time required for extensive consultation within [FWS], with other Federal agencies,

   and/or State or foreign governments.” Id. The regulations further state that, “[w]hen

   applicable, [FWS] may require permit applicants to provide additional information on the

   proposal and on its environmental effects as may be necessary to satisfy the procedural

   requirements of NEPA.” Id.

9. Since issuance of the Wind Memo, the Migratory Bird Program has temporarily paused

   issuance of permits to wind facilities, including all incidental take permits for bald and

   golden eagles. Consistent with the Wind Memo, the Migratory Bird Program has added a

   notice to the ePermits webpage that applicants use to register for general permits for wind

   energy projects and power lines, but it has not issued any formal policy. The website notice

   states:

       NOTICE TO APPLICANTS: The U.S. Fish and Wildlife Service, pursuant to
       Presidential Memorandum “Temporary Withdrawal of All Areas on the Outer
       Continental Shelf from Offshore Wind Leasing and Review of the Federal
       Government’s Leasing and Permitting Practices for Wind Projects” is temporarily
       ceasing issuance of permits to wind facilities until further notice.



                                                 3
     Case 1:25-cv-11221-WGY           Document 123-6        Filed 05/29/25      Page 4 of 6




       In the interim, ePermits will no longer automatically issue general permits for
       eagle Incidental Take. Applicants may still complete a general permit application
       (Form 3-200-71). Eagle Incidental Take applicants should email
       migratorybirdpermits@fws.gov with the subject GENERAL PERMIT
       APPLICATION to notify us of a submitted Eagle Incidental Take application.

10. However, New York’s complaint does not allege that any incidental take permit under the

   Eagle Act is being unlawfully withheld or unreasonably delayed with respect to any specific

   wind project that is named therein. Indeed, upon information and belief, there are no

   incidental take permit applications for bald or golden eagles currently pending before the

   Migratory Bird Program for any of the wind projects named in the complaint.

11. FWS continues to allow applications for incidental take permits under the Eagle Act to be

   submitted and the agency continues to manually process and evaluate permit applications up

   until the point of permit issuance. Additionally, the Migratory Bird Program continues to

   provide limited technical assistance upon request.

12. A true and correct copy of the ePermits webpage notice is attached as Exhibit 1.

13. This declaration is made pursuant to 28 U.S.C. § 1746. I declare under penalty of perjury

   that the foregoing is true and correct to the best of my knowledge.

                                             Executed this 29th of May, 2025.




                                             ______________________

                                             Jerome Ford

                                             Assistant Director for the Migratory Bird Program
                                             U.S. Fish and Wildlife Service




                                                4
Case 1:25-cv-11221-WGY   Document 123-6   Filed 05/29/25   Page 5 of 6




                            EXHIBIT #1
Case 1:25-cv-11221-WGY   Document 123-6   Filed 05/29/25   Page 6 of 6
